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Of Attorneys for Proposed Intervenor-Plaintiff National Alliance on Mental Iliness

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF OREGON

PORTLAND DIVISION

LEGACY EMANUEL HOSPITAL &
HEALTH CENTER d/b/a UNITY CENTER
FOR BEHAVIORAL HEALTH; LEGACY
HEALTH SYSTEM; PEACEHEALTH;
PROVIDENCE HEALTH & SERVICES —
OREGON and ST. CHARLES HEALTH

Case No. 6:22-cv-01460-AN

DECLARATION OF CHRIS BOUNEFF IN
SUPPORT OF PROPOSED INTERVENOR-
PLAINTIFF NATIONAL ALLIANCE ON

SYSTEM, MENTAL ILLNESS’ MOTION TO
INTERVENE
Plaintiffs,
Vv.

SEJAL HATHI, MD, in her official capacity

as Director of Oregon Health Authority,
Defendant.

I, Chris Bouneff, declare as follows:
Page 1 -DECLARATION OF CHRIS BOUNEFF IN SUPPORT OF HART WAGNER LLP

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1. I am the Executive Director of NAMI-Oregon. [have been the Executive Director
of NAMI-Oregon for over 15 years, and have been active with NAMI-Oregon for several years
before I became Executive Director. I make this declaration based on personal knowledge, except
where indicated below.

2. NAMI-Oregon is the state chapter of the National Alliance on Mental Illness. It is a
grassroots, membership-governed organization. Membership consists almost entirely of individuals
living with mental illness, family members supporting a loved one living with mental illness, and
parents/caregivers raising school-age youth living with behavioral health issues.

3. NAMI-Oregon’s mission is to improve the quality of life for individuals and
families living with mental illness through education, support, and advocacy. Its mission is not
limited to Portland. Through seventeen local affiliates across Oregon, NAMI-Oregon annually
serves 15,000 Oregonians with education classes, support groups, and workshops. NAMI-Oregon
annually answers 2,000 phone calls and emails on the NAMI-Oregon Resource Helpline.

4, NAMI-Oregon’s advocacy harnesses the lived experience of its members to pursue
policy reforms and investments at the state, regional, and local levels. Among NAMI-Oregon’s
guiding principles are that every Oregonian across their lifespan deserves access to timely,
accessible, and effective treatments and supports. NAMIJ-Oregon believes recovery should be an
expectation, not an exception.

5. Because NAMI-Oregon’s mission is to support and advocate on behalf of
individuals living with mental illness, its membership and constituency includes individuals who are
subject to civil commitment orders, and individuals who may become subject to such orders in the
future. Examples of NAMI-Oregon’s advocacy include passage of a sweeping health insurance

parity bill in the 2021 Legislature and legislation in 2023 that will lead to a fully implemented 988

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crisis system in Oregon. NAMI-Oregon is currently part of efforts in the legislature to address
Oregon’s approach to civil commitment.

6. NAMI-Oregon is committed and dedicated to the very individuals who are the
subject of this lawsuit. Its membership includes individuals who have been subject to civil
commitment orders, and it often assists individuals and family members of individuals who are
subject to civil commitment orders. Its voice and experience should be part of any conversation
about the impact of OHA’s failures, and the efficacy of potential remedies. For those reasons,
NAMI-Oregon seeks to intervene in this matter as a Plaintiff in order to assert those claims in the
SAC that are made on behalf of individuals who are subject to civil commitment orders.

7. NAMI’s ability to fulfill its mission is directly tied to OHA’s practices in treating—
and not treating—individuals who are civilly committed individuals. Because OHA is violating the
constitutional and statutory rights of NAMIJ-Oregon’s members and the individuals that NAMI
serves, NAMI must expend significant resources and take on a much larger role in “filling-the-gap”
due to the absence of treatment from OHA. NAMI-Oregon’s ability to fulfill its mission and
effectively assist its members and other individuals who suffer from severe mental illness is
thwarted by the violations described in the Plaintiffs’ Second Amended Complaint.

Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury that the foregoing
is true and correct.

DATED this 4 day of October 2024

Chris Bouneff

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